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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION
__________________________________

ASHLEY DIAMOND,

                       Plaintiff,

v.                                                    Case No. 5:20-cv-00453-MTT

TIMOTHY WARD, et al.,

                  Defendants.
__________________________________

                 STATEMENT OF INTEREST OF THE UNITED STATES

       Prison officials have an obligation under the Eighth Amendment to the U.S. Constitution

to protect all prisoners from sexual abuse and assault by assessing the particular risks facing

individual prisoners and taking reasonable steps to keep them safe. Farmer v. Brennan, 511 U.S.

825, 843-45 (1994). This duty includes transgender prisoners. Id. at 834 (observing in a case

about the rape of a transgender woman in prison that “[b]eing violently assaulted in prison is

simply not part of the penalty”) (internal citation and quotation marks omitted). Prison officials

also have an Eighth Amendment obligation to provide all prisoners with adequate medical care

for serious medical conditions. Estelle v. Gamble, 429 U.S. 97, 103-06 (1976). This duty

includes the treatment of gender dysphoria. Kothmann v. Rosario, 558 F. App’x 907, 912 (11th

Cir. 2014).

       In her Motion for Preliminary Injunction (ECF No. 50), Plaintiff Ashley Diamond, a

transgender woman, alleges that officials from the Georgia Department of Corrections (GDC)

violate the Eighth Amendment by housing her in men’s facilities without sufficient regard for the

substantial risk of sexual abuse and assault she would—and reportedly did and still does—face in



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those facilities. Ms. Diamond also claims that GDC officials violate the Eighth Amendment by

failing to adequately treat her gender dysphoria, a serious medical need, in disregard of the

advice of treating clinicians and widely accepted professional standards of care.

       Without taking a position on questions of fact, the United States files this Statement of

Interest to address the Eighth Amendment standards for evaluating Plaintiff’s Motion. The

United States submits that the Eighth Amendment requires prison officials to conduct

individualized assessments that lead to reasonably safe conditions of confinement and adequate

medical care for all prisoners. These requirements are embodied by the Prison Rape Elimination

Act Standards and professional medical standards that are relevant to the Eighth Amendment

analysis. Prison officials violate the Constitution by (1) categorically refusing to assign

transgender prisoners to housing that corresponds to their gender identity even if an

individualized risk assessment indicates that doing so is necessary to mitigate a substantial risk

of serious harm, and (2) failing to individualize the medical care of transgender prisoners for the

treatment of gender dysphoria.

                            INTEREST OF THE UNITED STATES

       The United States files this Statement of Interest pursuant to 28 U.S.C. § 517, which

authorizes the Attorney General “to attend to the interests of the United States” in any case

pending in federal court.1 The United States is charged with enforcing the rights of incarcerated

individuals under the Civil Rights of Institutionalized Persons Act, 42 U.S.C. §§ 1997 et seq.

(CRIPA). Pursuant to CRIPA, the Department of Justice (DOJ) is authorized to investigate




1
  The full text of 28 U.S.C. § 517 is: “The Solicitor General, or any officer of the Department of
Justice, may be sent by the Attorney General to any State or district in the United States to attend
to the interests of the United States in a suit pending in a court of the United States, or in a court
of a State, or to attend to any other interest of the United States.”
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conditions of confinement in correctional facilities and bring a civil action against a State or

local government to enforce the constitutional rights of prisoners whose rights are violated

subject to a pattern or practice of unconstitutional conduct or conditions. 42 U.S.C. § 1997(a).

         The United States has an interest in ensuring that conditions of confinement in state and

local correctional facilities are consistent with the Constitution and federal law. For that reason,

the Department of Justice has exercised its CRIPA authority to investigate prisons for issues

similar to those presented in this case, including protection from sexual violence and access to

adequate medical care.2

         The United States also has a strong interest in protecting the rights of lesbian, gay,

bisexual, and transgender individuals. To that end, the President has issued an Executive Order

that recognizes the right of all persons to be “treated with respect and dignity” and to “be able to

live without fear” regardless of their gender identity or sexual orientation.3 The United States



2
  See, e.g., U.S. Dep’t of Justice and U.S. Atty’s Office for the Middle District of Florida,
Investigation of the Lowell Correctional Institution – Florida Dep’t of Corrections (Ocala,
Florida) (Dec. 22, 2020), available at https://www.justice.gov/crt/case-
document/file/1347766/download (finding that the Florida Department of Corrections fails to
keep prisoners at Lowell safe from sexual abuse by staff); U.S. Dep’t of Justice and U.S. Atty’s
Office for the District of New Jersey, Investigation of the Edna Mahan Correctional Facility for
Women (Union Township, New Jersey) (April 2020), available at
https://www.justice.gov/crt/page/file/1268416/download (concluding that the New Jersey
Department of Corrections fails to protect prisoners at Edna Mahan from sexual abuse by staff);
Letter from Loretta King, Acting Assistant Att’y Gen. of the United States, U.S. Dep’t of Justice,
to Marlin N. Gusman, Sheriff, Orleans Parish Sheriff’s Office (Sept. 11, 2009), available at
http://www.justice.gov/crt/about/spl/documents/parish_findlet.pdf (finding that the Orleans
Parish Sheriff’s Office failed to provide Orleans Parish Prison detainees with constitutional
levels of medical and mental health care); Letter from Thomas Perez, Assistant Att’y Gen. of the
United States, U.S. Dep’t of Justice, to Carlos A. Gimenez, Mayor, Miami-Dade Cnty. (Aug. 24,
2011), available at http://www.justice.gov/crt/about/spl/documents/Miami-
Dade_findlet_8-24-11.pdf (finding that the Miami-Dade County Jail failed to provide detainees
with appropriate medical and mental health care, including screening, chronic care, and access to
services for acute needs).
3
    Exec. Order No. 13988, §1, 86 Fed. Reg. 7023 (Jan 20, 2021).
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also filed a Statement of Interest in this court in Diamond v. Owens, 131 F. Supp. 3d 1346 (M.D.

Ga. 2015), on the adequacy of medical treatment GDC officials provided Ms. Diamond for

gender dysphoria.4 And the DOJ’s Civil Rights Division and the U.S. Attorney’s offices

throughout Georgia have an open CRIPA investigation into issues related to protection from

harm for lesbian, gay, bisexual, and transgender individuals in GDC prisons.5

                                          DISCUSSION

       In the First Amended Complaint (Compl.) (ECF No. 36), Ms. Diamond claims that GDC

officials violate the prohibition on cruel and unusual punishment under the Eighth Amendment

by: 1) refusing to ever house transgender women such as herself in women’s facilities despite

the substantial risk of serious harm they face in men’s facilities; and 2) denying her medically

necessary therapeutic doses of hormone therapy and medically necessary gender expression

allowances, including access to permanent hair removal, female undergarments, female canteen

items, and accommodations for a female hairstyle and grooming standards, which fall short of

the adequate medical care required by the Eighth Amendment. In her Motion for Preliminary

Injunction (ECF No. 50), Ms. Diamond also alleges that she has had to shower in facilities

surrounded by male prisoners with limited privacy and has been denied transfer to housing where

she can be reasonably free from sexual abuse and assault.




4
 Statement of Interest of the United States, Diamond v. Owens, No. 15-cv-00050 (M.D. Ga.
2015), ECF No. 29, available at
https://www.justice.gov/sites/default/files/crt/legacy/2015/06/12/diamond_soi_4-3-15.pdf.
5
 U.S. Dep’t of Justice, Civil Rights Division, Special Litigation Case Summaries,
https://www.justice.gov/crt/special-litigation-section-case-summaries/download#gdoc-summ
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   I.      Failure to Consider Housing Transgender Inmates in Facilities That Correspond
           to Their Gender Identity Violates the Eighth Amendment Because Doing So
           Disregards a Substantial Risk of Serious Harm.

        The Eighth Amendment to the U.S. Constitution prohibits the infliction of “cruel and

unusual punishments.” Estelle, 429 U.S. at 102 (internal citations and quotations omitted). This

includes punishments that are “incompatible with the evolving standards of decency that mark

the progress of a maturing society.” Id. (internal citations and quotations omitted). The Eighth

Amendment imposes upon prison officials a duty to provide prisoners with “reasonable safety”

from serious harm and a substantial risk of serious harm, including violence at the hands of other

prisoners. Farmer, 511 U.S. at 833, 844 (internal citations omitted). This includes the

obligation to protect prisoners from sexual abuse. Sconiers v. Lockhart, 946 F.3d 1256, 1259

(11th Cir. 2020) (“Some things are never acceptable, no matter the circumstances. Sexual abuse

is one.”); Purcell ex rel. Estate of Morgan v. Toombs Cnty., Ga., 400 F.3d 1313, 1320 (11th Cir.

2005) (“A prisoner has a right, secured by the eighth . . . . amendment [], to be reasonably

protected from constant threat of violence and sexual assault by his fellow inmates.”) (internal

quotations and citation omitted).

        Prison officials violate the Eighth Amendment’s prohibition against cruel and unusual

punishment if they are deliberately indifferent to conditions of confinement that pose a

substantial risk of serious harm to prisoners. Farmer, 511 U.S. at 828 (internal citations

omitted). A prison official acts with deliberate indifference when she or he “knows of and

disregards an excessive risk to prisoner health or safety; the official must both be aware of facts

from which the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Id. at 837.




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           a. Prison officials can be presumed to know of a substantial risk of harm from
              sexual abuse facing prisoners where that risk is obvious.

       A court may conclude that “a prison official knew of a substantial risk from the very fact

that the risk was obvious.” Id. at 842. The Supreme Court explained that if a plaintiff

demonstrates that prisoners faced a substantial risk of attacks that was “longstanding, pervasive,

well-documented, or expressly noted to prison officials in the past, and the circumstances

suggest that the defendant-official being sued had been exposed to information concerning the

risk and thus must have known about it,” a court could conclude that prison officials had

knowledge of the risk. Id. at 842-43 (internal quotations and citation omitted).

       Whether a prison official had knowledge of a substantial risk of harm facing a prisoner

“is a question of fact subject to demonstration in the usual ways, including inference from

circumstantial evidence.” Id. at 842. Congress enacted the Prison Rape Elimination Act (PREA)

in 2003 to combat sexual abuse in correctional settings. 34 U.S.C. § 30301 et seq. In 2012, the

Attorney General published the National Standards to Prevent, Detect, and Respond to Prison

Rape (the PREA standards), which require prison officials to adhere to procedures through which

they can assess the risk facing all prisoners in their custody. 28 C.F.R. §§ 115 et seq.

Knowledge of, and failure to comply with, the PREA standards can serve as further evidence of

subjective recklessness with regard to prisoner safety. Farmer, 511 U.S. at 842-43; Sconiers,

946 F.3d at 1270-72 (Rosenbaum, J., concurring) (finding PREA and other state legislative

enactments to be reliable evidence of contemporary standards of decency) (citing Crawford v.

Cuomo, 796 F.3d 252, 260 (2d Cir. 2015))).

         In order to ensure the reasonable safety of all prisoners, the PREA standards require

prison officials to screen all prisoners to assess their risk of being sexually abused by, or sexually

abusive toward, other prisoners upon their initial intake screening and any transfer to another


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facility. 28 C.F.R. § 115.41(a).6 Among the criteria prison officials must use to assess prisoners’

risk of sexual victimization are: “[w]hether the inmate is or is perceived to be gay, lesbian,

bisexual, transgender, intersex, or gender nonconforming; [w]hether the inmate has previously

experienced sexual victimization; [and] [t]he inmate’s own perception of vulnerability.” 28

C.F.R. § 115.41(d). The PREA standards also recognize that transgender prisoners have

“particular vulnerabilities” to sexual abuse and sexual harassment. See National Standards to

Prevent, Detect, and Respond to Prison Rape, 77 Fed. Reg. 37109 (June 20, 2012) (explanatory

text). In 2015, this Court held that Ms. Diamond had adequately stated a claim against GDC

officials under the Eighth Amendment for allegedly failing to protect her from sexual abuse by

placing her in housing units for male prisoners. Diamond, 131 F. Supp. 3d at 1379. And the

complaint in this matter alleges that GDC officials are aware that Ms. Diamond has been

sexually abused multiple times since GDC officials again placed her in men’s prison facilities

starting in 2019. ECF No. 36 ¶¶ 71, 234-237.

           b. Prison officials demonstrate deliberate indifference to the substantial risk of
              serious harm facing transgender prisoners by refusing to consider placing them
              in housing that corresponds to their gender identity.

       Failure to protect prisoners from the risk of sexual abuse through measures such as

screening, classification, and housing assignments can constitute deliberate indifference. See

Williams v. Bennett, 689 F.2d 1370, 1375 (11th Cir. 1982) (noting that deliberate indifference

may be found when prison officials make “no realistic attempt . . . to separate violent, aggressive

inmates from those who are passive or weak.”) (internal quotations and citation omitted); Taylor

v. Mich. Dep’t of Corr., 69 F.3d 76, 82–83 (6th Cir. 1995) (noting that certain classes of




6
 The PREA standards also mandate that information obtained during PREA screenings remain
confidential. 28 C.F.R. § 115.41(i).
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prisoners have particular vulnerabilities and that failure to account for those vulnerabilities when

assigning housing may constitute deliberate indifference).

       According to the PREA standards, prison officials must use information from the

prisoners’ risk assessments “to inform housing, bed, work, education, and program assignments

with the goal of keeping separate those inmates at high risk of being sexually victimized from

those at high risk of being sexually abusive.” 28 C.F.R. § 115.42(a). Prison officials must also

use this screening information to make “individualized determinations about how to ensure the

safety of each inmate.” 28 C.F.R. § 115.42(b) (emphasis added).7 The PREA standards also

require reassessment of any prisoner’s risk level in the wake of sexual abuse, 28 C.F.R.

§ 115.41(g), and for all transgender prisoners at least twice a year for the precise purpose of

reviewing any threats to their safety, 28 C.F.R. § 115.42(d).

       The PREA standards detail specific procedures to which prison officials must adhere in

order to provide transgender prisoners reasonable protection from harm. For example, when

determining whether to house a transgender prisoner in a facility for male or female prisoners,

the standards require prison officials to “consider on a case-by-case basis whether a placement

would ensure the inmate’s health and safety, and whether the placement would present

management or security problems.” 28 C.F.R. § 115.42(c) (emphasis added). And transgender

prisoners’ own views as to their safety must be given “serious consideration.” 28 C.F.R.

§ 115.42(e). The standards also require that transgender prisoners be permitted to shower

separately from other prisoners. 28 C.F.R. § 115.42(f).




7
  The PREA standards also contain clear requirements regarding prison officials’ response to
reports of sexual abuse, investigations, and anti-retaliation. 28 C.F.R. §§ 115.61-67, 115.71-
115.73.
                                                 8
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        In recognition of the particular dangers facing transgender prisoners, the PREA standards

not only require prison officials to conduct individualized risk assessments of transgender

prisoners to determine their risk of being sexually victimized but specifically allow for

placements in housing that corresponds to their gender identity. The failure to conduct

individualized assessments that carefully consider the housing placements of transgender

prisoners and take steps to mitigate their risk of sexual victimization, up to and including

placement in a facility that matches their gender identity if necessary to provide reasonable

safety, is contrary to evolving standards of decency. See Crawford, 796 F.3d at 260.8 For these

reasons, categorical refusals to transfer transgender prisoners to housing that corresponds to their

gender identity without due consideration of the risks identified by screenings and assessments

violate the Eighth Amendment’s prohibition on cruel and unusual punishment. And a failure to

ever house transgender prisoners in housing that corresponds to their gender identity suggests

that the requisite screening and assessments are either not taking place or are so inadequate as to

be entirely ineffective.9



8
  Several states also allow for the placement of transgender prisoners in housing that corresponds
to their gender identity either upon prisoner request or by default, unless prison officials can
demonstrate why such placements compromise safety or security. Massachusetts: Mass. Gen.
Laws. Ann. ch. 127 § 32A; Connecticut: Conn. Gen. Stat. Ann. § 18-81ii; California: Cal. Penal
Code § 2606(a)(3).
9
 Indeed, the DOJ has issued PREA standard guidance noting the significance of a practice that
never results in housing of transgender prisoners in accordance with gender identity: “A PREA
auditor must examine a facility or agency’s actual practices in addition to reviewing official
policy. A PREA audit that reveals that all transgender or intersex inmates in a facility are, in
practice, housed according to their external genital status raises the possibility of non-
compliance. The auditor should then closely examine the facility’s actual assessments to
determine whether the facility is conducting truly individualized, case-by-case assessments for
each transgender or intersex inmate.” See U.S. Dep’t of Justice, Nat’l PREA Resource Center,
PREA Frequently Asked Questions (Mar. 24, 2016), available at
https://www.prearesourcecenter.org/frequently-asked-questions/does-policy-houses-transgender-
or-intersex-inmates-based-exclusively.
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II.    Prison Officials Violate the Eighth Amendment When They Fail to Treat Gender
       Dysphoria Based on an Individualized Assessment of a Transgender Prisoner’s
       Needs Because Doing So Constitutes Deliberate Indifference to a Serious Medical
       Condition.

       A prison official’s denial of adequate medical care to prisoners constitutes cruel and

unusual punishment in violation of the Eighth Amendment. Estelle, 429 U.S. at 103-105; Kuhne

v. Fla. Dep’t of Corr., 745 F.3d 1091, 1094 (11th Cir. 2014). To establish a violation of the

Eighth Amendment’s guarantee of adequate medical treatment, a prisoner must meet two

elements. First, she must demonstrate that she has an objectively serious medical need. Estelle,

429 U.S. at 104. Second, she must she must show that prison officials exhibited “deliberate

indifference” to that need, meaning they knew there was a substantial risk of harm to the plaintiff

if that need was not met, yet they disregarded that risk by conduct that amounted to more than

mere negligence. See Farmer, 511 U.S. at 837; Kothmann, 558 F. App’x at 910; Lancaster v

Monroe Cty. Ala, 116 F.3d 1419, 1425 (11th Cir. 1997).

           a. Gender dysphoria, self-mutilation, and suicide are serious medical conditions.

       As Defendants have admitted and courts have held, gender dysphoria is a “serious

medical need” implicating the Eighth Amendment. GDC Defs.’ Answer to Pl.’s Am. Compl.

ECF No. 41 ¶ 39; Edmo v. Corizon, Inc., 935 F.3d 757, 785 (9th Cir. 2019) (per curiam); White

v. Farrier, 849 F.2d 322, 325 (8th Cir. 1988); Meriwether v. Faulkner, 821 F.2d 408, 412-13

(7th Cir. 1987).

       Defendants also admit that, if left untreated, gender dysphoria can result in psychological

and physical suffering. ECF No. 41 ¶ 39. See also De’lonta v. Angelone, 330 F.3d 630, 634 (4th

Cir. 2003) (De’lonta I) (holding that a transgender prisoner’s “need for protection against

continued self-mutilation constitutes a serious medical need to which prison officials may not be

deliberately indifferent”) (citing Lee v. Downs, 641 F.2d 1117, 1121 (4th Cir.1981)); Belcher v.


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City of Foley, Ala., 30 F.3d 1390, 1396 (11th Cir. 1994) (“Under the Eighth Amendment,

prisoners have a right to receive medical treatment for illness and injuries . . . and a right to be

protected from self-inflicted injuries, including suicide.”) (citing Edwards v. Gilbert, 867 F.2d

1271, 1274-75 (11th Cir. 1989)).

       The World Professional Association of Transgender Health (WPATH) is a professional

association that develops “best practices and supportive policies” related to the health and

treatment of transsexual, transgender, and gender nonconforming people. World Professional

Association of Transgender Health, Standards of Care for the Health of Transsexual,

Transgender, and Gender Nonconforming People 1 (7th ed. 2011), available at

https://www.wpath.org/media/cms/Documents/SOC%20v7/SOC%20V7_English.pdf

(hereinafter WPATH Standards). According to WPATH, the failure to provide, or the

interruption of, medically necessary hormone treatment for gender dysphoria can lead to

depression, self-castration, and suicidality. Id. at 68.

           b. Prison officials demonstrate deliberate indifference to a substantial risk of
              serious harm when they fail to provide medical care that is individualized to a
              particular prisoner’s gender dysphoria.

       Prison officials violate the Eighth Amendment by failing to provide medical care outright

or by providing some medical treatment for a serious medical condition if that treatment is

“grossly inadequate as well as by a decision to take an easier but less efficacious course of

treatment.” McElligott v. Foley, 182 F.3d 1248, 1255 (11th Cir. 1999) (internal citations

omitted). Although the Eighth Amendment does not entitle prisoners to the medical treatment of

their choice, it does require prison officials to provide constitutionally adequate medical

treatment for serious medical conditions. Kothmann, 558 F. App’x at 910 (citing Estelle, 429

U.S. at 103-06). For this reason, prison officials can violate the Eighth Amendment even when

they provide some medical treatment, if that treatment is inadequate as informed by medical

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professionals and standards of care. Edmo, 935 F.3d at 787. This is particularly true where

prison officials “persist[] in a particular course of treatment in the face of resultant pain and risk

of permanent injury.” Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir. 1999) (internal citation and

quotations omitted) (genuine issue of material fact as to whether prison officials had provided

adequate diet and insulin monitoring to prisoners with insulin-dependent diabetes).

       In assessing possible treatment options for gender dysphoria, prison officials must

consider an individual prisoner’s medical needs. Keohane v. Fla. Dep’t. of Corr. Sec’y, 952 F.3d

1257, 1266-67 (11th Cir. 2020) (“It seems to us that responding to an inmate’s acknowledged

medical need with what amounts to a shoulder-shrugging refusal even to consider whether a

particular course of treatment is appropriate is the very definition of ‘deliberate indifference’—

anti-medicine, if you will.”); De’lonta I, 330 F.3d at 635 (prison officials could be deliberately

indifferent when they abruptly terminated transgender prisoner’s hormone therapy based on

policy “rather than on a medical judgment concerning [prisoner’s] specific circumstances”).

Blanket bans on categories of treatment are at odds with the Eighth Amendment because they do

not account for the individual medical needs of prisoners. See Fields v. Smith, 653 F.3d 550,

557-58 (7th Cir. 2011) (striking down a statute denying transgender prisoners hormone therapy

or surgery); Kosilek v. Spencer, 774 F.3d 63, 91 (1st Cir. 2014) (noting that blanket ban on

surgery would be in conflict with the Eighth Amendment); Soneeya v. Spencer, 851 F.Supp.2d

228, 246-47 (D. Mass. 2012) (holding that blanket ban on laser hair removal and surgery for

prisoners with gender dysphoria violated the Eighth Amendment).

       When assessing the adequacy of medical treatment that prison officials provide to

prisoners, courts are guided by current professional standards. Estelle, 429 U.S. at 102 (prison

conditions violate the Eighth Amendment when they are contrary to “the evolving standards of



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decency that mark the progress of a maturing society.”) (internal citations omitted). WPATH has

promulgated Standards of Care that some courts have consulted when assessing the

constitutional adequacy of prison officials’ treatment of gender dysphoria. See, e.g., De’lonta v.

Johnson, 708 F.3d 520, 522–23 (4th Cir. 2013) (De’lonta II) (characterizing the WPATH

Standards as “generally accepted protocols for the treatment of [gender dysphoria].”); see also

Edmo, 935 F.3d at 769 (listing the “many [] medical and mental health groups in the United

States” that recognize the Standards of Care as the consensus of the medical and mental health

professions regarding the appropriate treatment for gender dysphoria); but see Gibson v. Collier,

920 F.3d 212, 221 (5th Cir. 2019) (finding that the WPATH Standards reflect only “one side in a

sharply contested medical debate over sex reassignment surgery”). The WPATH Standards of

Care recommend a range of treatments for gender dysphoria, noting that the number and type of

treatments prescribed and the order in which they are administered “may differ from person to

person” and must be “individualized” across the full range of options. WPATH Standards at 5,

9. Appropriate treatments for gender dysphoria may include but are not limited to: changes in

gender expression and role; hormone therapy; hair removal through electrolysis,10 laser

treatment, or waxing; surgery; and psychotherapy. Id. at 9-10. The Standards of Care also

provide specific guidance on the administration and management of hormone therapy.

According to the Standards, hormone therapy “must be individualized,” managed by medical

professionals, and “the dose, route of administration, and medications used, [] are selected in




10
   In 2016, WPATH clarified that, per the Standards, electrolysis is “medically necessary” for
individuals whose gender dysphoria can be alleviated by it and that “medical necessity should be
determined according to the judgment of the referring physician.” World Prof’l Ass’n for
Transgender Health, WPATH Statement About the Medical Necessity of Electrolysis (July 15,
2016), available at https://s3.amazonaws.com/amo_hub_content/Association140/
files/Letter%20Re_Medical%20Necessity%20of%20Electrolysis_7-15-15.pdf.
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accordance with the patient’s goals.” Id. at 33, 38, 41. The Standards further caution that the

administration of hormones must be followed by “ongoing medical monitoring, including regular

physical and laboratory examination to monitor hormone effectiveness and side effects.” Id. at

42, 46.

          Courts have recognized a wide range of interventions that have been deemed by the

Standards of Care and qualified professionals as medically necessary to treat gender dysphoria,

depending on the individual needs of the prisoner. These treatments have included gender

expression allowances such as permanent hair removal, undergarments consistent with a

prisoner’s gender identity, pronouns corresponding to a prisoner’s gender identity; and surgery,

based on the circumstances of the individual prisoner. See Hicklin v. Precynthe, No. 4:16-cv-

01357-NCC, 2018 WL 806764 at *14 (E.D. Mo. Feb. 9, 2018) (granting preliminary injunction

to transgender prisoner for access to hormone therapy, “gender-affirming” canteen items, and

permanent hair removal); Alexander v. Weiner, 841 F. Supp. 2d 486, 492-94 (D. Mass. 2012)

(holding that transgender prisoner had stated an Eighth Amendment claim by alleging that prison

officials had denied her access to laser hair removal); Konitzer v. Frank, 711 F. Supp. 2d 874,

909-912 (E.D. Wis. 2010) (denying summary judgment to prison officials who refused

transgender prisoner access to makeup, undergarments consistent with her gender identity, facial

hair removal or growth items, and pronouns consistent with her gender identity); Edmo, 935 F.3d

at 803 (upholding preliminary injunction for transgender inmate to receive surgery).

          Critically, prison officials are not free to pick and choose arbitrarily which medical

treatments they provide to transgender inmates with gender dysphoria, particularly when doing

so diminishes the effectiveness of treatment or results in pain or injury. See Konitzer, 711 F.

Supp. 2d at 908-12 (“Clearly, what the defendants were doing to treat [transgender prisoner] was



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not working” when she continued to self-mutilate and attempt suicide without access to gender

expression allowances.); De’lonta II, 708 F.3d at 526 (“just because [prison officials] have

provided [transgender prisoner] with some treatment consistent with the [WPATH] Standards of

Care, it does not follow that they have necessarily provided her with constitutionally adequate

treatment”). And at least one federal court has recognized the imperative of monitoring the

timing, dosage, and administration of hormone therapy. Monroe v. Meeks, No. 18-CV-00156-

NJR, 2020 WL 1048770, at *3 (S.D. Ill. Mar. 4, 2020) (enjoining prison officials to ensure that

hormone therapy is provided in a timely manner and when medically necessary, providing

appropriate adjustments and monitoring.).

       The Eleventh Circuit has held that the Eighth Amendment does not require a prison to

allow a particular transgender prisoner access to female clothing and grooming standards where

several medical professionals—including members of the prisoner’s own treatment team—did

not believe such allowances were necessary to treat her gender dysphoria adequately. Keohane,

952 F.3d at 1264. This dispute among medical professionals as to the necessity of treatment —

as well as the extensive security concerns raised by prison officials—was critical to the court’s

holding. Id. at 1274-77.11 Moreover, in Keohane the Eleventh Circuit noted that the Florida

Department of Corrections was providing the transgender prisoner diagnosed with gender

dysphoria with not only hormone therapy and counseling, but also the use of pronouns consistent




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  Whether concerns about prison security can justify the denial of medically necessary treatment
for gender dysphoria is a question of fact. Conclusory opinions without evidence of the precise
security risks particular treatments pose have been found an insufficient basis for denying
medically necessary treatment for gender dysphoria. See Konitzer, 711 F. Supp. 2d at 909-12
(finding prison’s purported security concerns insufficient justification as a matter of law for
denying transgender prisoner access to makeup, undergarments consistent with her gender
identity, facial hair removal or growth items, and pronouns consistent with her gender identity).
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with her gender identity, private shower facilities, and safer housing as part of her treatment plan.

Id. at 1264.

                                         CONCLUSION

       The failure to keep transgender prisoners reasonably safe from a substantial risk of

serious harm or provide them with adequate medical care amounts to cruel and unusual

punishment under the Eighth Amendment. Prison officials demonstrate deliberate indifference

to the substantial risk of sexual abuse and assault facing transgender prisoners when they refuse

to consider placing them in housing that corresponds to their gender identity without conducting

an individualized risk assessment determining what is necessary to keep them reasonably safe.

Prison officials are also deliberately indifferent to transgender prisoners’ gender dysphoria when

they categorically deny certain types of treatment without consideration of individualized

assessments conducted by qualified medical professionals and widely-accepted standards of care

that indicate such treatments are medically necessary.

       Respectfully submitted, this 22nd day of April, 2021.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2021, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.

       This 22nd day of April, 2021.

                                               /s Lance Simon
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